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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

____________________________________
ADLER MEDICAL, LLC; WALT ARNOLD                    )
COMMERCIAL BROKERAGE, INC; XUAN                    )
NATION, LLC, AND NM CCIM CHAPTER                   )
OF THE COMMERCIAL REAL ESTATE INSTITUTE )
                                                   )
                  Plaintiffs,                      )
                                                   )
vs.                                                ) Case No. 1:22-cv-00072-SCY-LF
                                                   )
BLAINE HARRINGTON, III                             )
                                                   )
                  Defendant/Counterclaim Plaintiff )
                  Third Party Plaintiff            )
                                                   )
vs.                                                )
                                                   )
ADLER MEDICAL, LLC; WALT ARNOLD                    )
COMMERCIAL BROKERAGE, INC.; XUAN                   )
NATION, LLC; AND NM CCIM CHAPTER                   )
OF THE COMMERICAL REAL ESTATE INSTITUTE,)
                                                   )
                  Counterclaim Defendants          )
                                                   )
and                                                )
                                                   )
CCIM INSTITUTE,                                    )
                                                   )
                  Third Party Defendant.           )
____________________________________

                  ANSWER OF PLAINTIFFS TO COUNTERCLAIMS
                    OF DEFENDANT BLAINE HARRINGTON III

      Plaintiffs and Counterclaim Defendants Adler Medical, LLC (“Adler Medical”), Walt

Arnold Commercial Brokerage, Inc. (“Arnold Brokerage”), Xuan Nation, LLC (“Xuan Nation”)

and NM CCIM Chapter of the Commercial Investment Real Estate Institute (“NM CCIM”) here

submit their answer to the Counterclaims of Defendant and Counterclaim Plaintiff Blaine

Harrington III (“Mr. Harrington”).   The Counterclaim Defendants will answer jointly any
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allegations of Mr. Harrington’s Counterclaims directed to them all; and will answer individually

any allegations directed to one of them individually. They will not provide substantive responses

to allegations directed to the third-party defendant CCIM Institute. Accordingly, Counterclaim

Defendants answer the numbered paragraphs of Mr. Harrington’s counterclaims as follows:

       1.     Counterclaim Defendants admit the allegations of this paragraph of Mr.

Harrington’s Counterclaims.

       2.     Adler Medical admits the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       3.     Arnold Brokerage admits the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       4.     Xuan Nation admits the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       5.     NM CCIM admits the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       6.     Counterclaim defendants are without knowledge or information sufficient to admit

or deny the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them

and demands strict proof thereof.

       7.     Counterclaim Defendants admit the allegations of this paragraph of Mr.

Harrington’s Counterclaims.

       8.     Counterclaim Defendants admit the allegations of this paragraph of Mr.

Harrington’s Counterclaims.




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        9.      Counterclaim defendants are without knowledge or information sufficient to admit

or deny the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them

and demands strict proof thereof.

        10.     Counterclaim Defendants admit the allegations of this paragraph of Mr.

Harrington’s Counterclaims.

        11.     Counterclaim Defendants are without knowledge or information sufficient to admit

or deny the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them

and demands strict proof thereof.

        12.     Counterclaim Defendants are without knowledge or information sufficient to admit

or deny the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them

and demands strict proof thereof.

        13.     Counterclaim Defendants are without knowledge or information sufficient to admit

or deny the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them

and demands strict proof thereof.

        14.     Adler Medical is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        15.     Adler Medical is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        16.     Adler Medical is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.




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        17.     Adler Medical is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        18.     Adler Medical is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        19.     Adler Medical is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        20.     Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaim.

        21.     This paragraph of Mr. Harrington’s Counterclaim states a legal conclusion which

requires no response from Adler Medical, but if a response were due, it would deny it.

        22.     Adler Medical believes the copy of the screenshot shown is a generally accurate

copy of a screenshot previously made of its website.

        23.     Adler Medical admits it has never received a formal written license to use the

subject photographs, and that it never contacted Mr. Harrington about obtaining a license.

        24.     Adler Medical admits that it operates a business of providing health care services

and that its website serves its business purpose.

        25.     Adler Medical admits that it found the subject photograph on the internet, and

denies the remaining allegations of this paragraph of Mr. Harrington’s Complaint.

        26.     Adler Medical denies the allegations and implications of this paragraph of Mr.

Harrington’s Counterclaims, except to admit that Mr. Harrington has apparently used efforts to




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identify its use of the subject photograph; that he had his attorneys notify it and accuse it of using

the photograph without authorization; and that it has refused to enter a license on the extortionate

terms Mr. Harrington has demanded, and that it owes Mr. Harrington no apology.

       27.      Arnold Brokerage is without knowledge or information sufficient to admit or deny

the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and

demands strict proof thereof.

       28.      Arnold Brokerage is without knowledge or information sufficient to admit or deny

the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and

demands strict proof thereof.

       29.      Arnold Brokerage is without knowledge or information sufficient to admit or deny

the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and

demands strict proof thereof.

       30.      Arnold Brokerage is without knowledge or information sufficient to admit or deny

the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and

demands strict proof thereof.

       31.      Arnold Brokerage is without knowledge or information sufficient to admit or deny

the allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and

demands strict proof thereof.

       32.       Arnold Brokerage admits the allegations of this paragraph of Mr. Harrington’s

Counterclaim.

       33.      Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.




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        34.     This paragraph of Mr. Harrington’s Counterclaim states a legal conclusion which

requires no response; but if a response were due, Arnold Brokerage would deny it.

        35.     Arnold Brokerage believes the copy of the screenshot shown is a generally accurate

copy of a screenshot previously made of its website.

        36.     Arnold Brokerage admits it has never received a formal written license to use the

subject photographs, and that it never contacted Mr. Harrington about obtaining a license.

        37.     Arnold Brokerage admits that it operates a business of providing real estate - related

services and that its website serves its business purposes.

        38.     Arnold Brokerage admits that it found the subject photograph on the internet, and

denies the remaining allegations of this paragraph of Mr. Harrington’s Complaint.

        39.     Arnold Brokerage denies the allegations and implications of this paragraph of Mr.

Harrington’s Counterclaims, except to admit that Mr. Harrington has apparently used efforts to

identify its use of the subject photograph; that he had his attorneys notify it and accuse it of using

the photograph without authorization; and that it has refused to enter a license on the extortionate

terms Mr. Harrington has demanded, and that it owes Mr. Harrington no apology.

        40.     Xuan Nation is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        41.     Xuan Nation is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.




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        42.     Xuan Nation is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        43.     Xuan Nation is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        44.     Xuan Nation is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        45.     Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

        46.     Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

        47.     This paragraph of Mr. Harrington’s Counterclaim states a legal conclusion which

requires no response; but if a response were due, Xuan Nation would deny it.

        48.     Xuan Nation believes the copy of the screenshot shown is a generally accurate copy

of a screenshot previously made of its website.

        49.     Xuan Nation admits it has never received a formal written license to use the subject

photographs, and that it never contacted Mr. Harrington about obtaining a license.

        50.     Xuan Nation admits that it operates a restaurant and that its website serves the

purpose of informing the public about its restaurant.

        51.     Xuan Nation admits that it found the subject photograph on the internet and denies

the remaining allegations of this paragraph of Mr. Harrington’s Counterclaims.




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        52.     Xuan Nation denies the allegations and implications of this paragraph of Mr.

Harrington’s Counterclaims, except to admit that Mr. Harrington has apparently used efforts to

identify its use of the subject photograph; that he had his attorneys notify it and accuse it of using

the photograph without authorization; and that it has refused to enter a license on the extortionate

terms of Mr. Harrington has demanded, and that it owes Mr. Harrington no apology.

        53.     NM CCIM is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        54.     NM CCIM is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        55.     NM CCIM is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        56.     NM CCIM is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        57.     NM CCIM is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.

        58.     NM CCIM is without knowledge or information sufficient to admit or deny the

allegations of this paragraph of Mr. Harrington’s Counterclaims, and so denies them and demands

strict proof thereof.




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       59.     NM CCIM denies there is anything ironical about CCIM Institute’s advice to its

members, and otherwise states that any articles it publishes speak for themselves.

       60.     NM CCIM admits the allegations of this paragraph of Mr. Harrington’s

Counterclaims, except to deny that its meetings are marketing meetings.

       61.     NM CCIM is sufficiently familiar with the CCIM Institute to deny the allegations

of this paragraph of Mr. Harrington’s Counterclaims.

       62.     NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       63.       This paragraph of Mr. Harrington’s Counterclaim states a legal conclusion which

requires no response; but if a response were due, it would deny it.

       64.     This paragraph of Mr. Harrington’s Counterclaim states a legal conclusion which

requires no response; but if a response were due, it would deny it.

       65.     NM CCIM believes the copy of the screenshot shown is a generally accurate copy

of a screenshot previously made of its website.

       66.     NM CCIM admits it has never received a formal written license to use the subject

photographs, and that it never contacted Mr. Harrington about obtaining a license.

       67.     NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       68.     NM CCIM admits that it found the subject photograph on the internet and denies

the remaining allegations of this paragraph of Mr. Harrington’s Counterclaims.

       69.     NM CCIM denies the allegations and implications of this paragraph of Mr.

Harrington’s Counterclaims, except to admit that Mr. Harrington has apparently used efforts to

identify its use of the subject photograph; that he had his attorneys notify it and accuse it of using




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the photograph without authorization; and that it has refused to enter a license on the extortionate

terms Mr. Harrington has demanded, and that it owes Mr. Harrington no apology.

       70.     Counterclaim Defendants reallege and incorporate by reference their responses to

paragraphs 1 through 26 of Mr. Harrington’s Counterclaims.

       71.     This paragraph of Mr. Harrington’s Counterclaims states a legal conclusion and

requires no response from Counterclaim Defendants. Were a response required, they would deny

it.

       72.     This paragraph of Mr. Harrington’s Counterclaims states a legal conclusion and

requires no response from Counterclaim Defendants. Were a response required, they would deny

it.

       73.     Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       74.     Adler Medical admits that it posted the photograph on its website, and denies the

remaining allegations of this paragraph of Mr. Harrington’s Counterclaims.

       75.     Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       76.     Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       77.     Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       78.     Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.




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       79.    Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       80.    Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       81.    Adler Medical denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.



       WHEREFORE, Adler Medical asks that judgement be entered in its favor dismissing

Mr. Harrington’s Counterclaims against it with prejudice.



       82.    Counterclaim Defendants reallege and incorporate by reference their responses to

paragraphs 1 through 13 and 27 through 39 of Mr. Harrington’s Counterclaims.

       83.    This paragraph of Mr. Harrington’s Counterclaims states a legal conclusion and

requires no response from Counterclaim Defendants. Were a response required, they would deny

it.

       84.    This paragraph of Mr. Harrington’s Counterclaims states a legal conclusion and

requires no response from Counterclaim Defendants. Were a response required, they would deny

it.

       85.    Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       86.    Arnold Brokerage admits that it posted the photograph on its website, and denies

the remaining allegations of this paragraph of Mr. Harrington’s Counterclaims.




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       87.    Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       88.    Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       89.    Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       90.    Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       91.    Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       92.    Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       93.    Arnold Brokerage denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.



       WHEREFORE, Arnold Brokerage asks that judgement be entered in its favor dismissing

Mr. Harrington’s Counterclaims against it with prejudice.



       94.    Counterclaim Defendants reallege and incorporate by reference their responses to

paragraphs 1 through 13 and 40 through 52 of Mr. Harrington’s Counterclaims.

       95.    This paragraph of Mr. Harrington’s Counterclaims states a legal conclusion and

requires no response from Counterclaim Defendants. Were a response required, they would deny

it.




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       96.    This paragraph of Mr. Harrington’s Counterclaims states a legal conclusion and

requires no response from Counterclaim Defendants. Were a response required, they would deny

it.

       97.    Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       98.    Xuan Nation admits that it posted the photograph on its website, and denies the

remaining allegations of this paragraph of Mr. Harrington’s Counterclaims.

       99.    Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       100.   Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       101.   Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       102.   Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       103.   Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       104.   Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       105.   Xuan Nation denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.



       WHEREFORE, Xuan Nation asks that judgement be entered in its favor dismissing




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Mr. Harrington’s Counterclaims against it with prejudice.



       106.   Counterclaim Defendants reallege and incorporate by reference their responses to

paragraphs 1 through 13 and 53 through 69 of Mr. Harrington’s Counterclaims.

       107.   This paragraph of Mr. Harrington’s Counterclaims states a legal conclusion and

requires no response from NM CCIM. Were a response required, they would deny it

       108.   This paragraph of Mr. Harrington’s Counterclaims states a legal conclusion and

requires no response from NM CCIM. Were a response required, they would deny it

       109.   NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       110.   NM CCIM admits that it posted the photograph on its website, and denies the

remaining allegations of this paragraph of Mr. Harrington’s Counterclaims

       111.   NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       112.   NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       113.   NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       114.   NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       115.   NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.




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       116.    NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.

       117.    NM CCIM denies the allegations of this paragraph of Mr. Harrington’s

Counterclaims.



       WHEREFORE, NM CCIM asks that judgement be entered in its favor dismissing

Mr. Harrington’s Counterclaims against it with prejudice.



       118 – 128. The allegations of these paragraphs of Mr. Harrington’s pleadings appear to be

in support of a third-party claim against CCIM Institute, and require no response from

Plaintiffs/Counterclaim Defendants. Were a response required, they would be without knowledge

or information sufficient to admit or deny them, and, and demand strict proof thereof.



                                          AFFIRMATIVE DEFENSES

       All the Counterclaim Defendants assert the following affirmative defense to Mr.

Harrington’s Counterclaims.

       1.      Mr. Harrington’s Counterclaims are barred by the applicable statutes of limitations.

       2.      Mr. Harrington’s Counterclaims are barred by his misuse of copyright based on

facts alleged in Plaintiffs’ Complaint.

       3.      Mr. Harrington’s Counterclaims are barred by his unclean hands.

       4.      Mr. Harrinton’s Counterclaims are barred by his willful misconduct.

       5.      Mr. Harrington’s Counterclaims are barred by his having impliedly licensed

Counterclaim Defendants’ use of the subject photographs.




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       6.      Mr. Harrington’s Counterclaims are barred by principles of waiver and estoppel.

       7.      Mr. Harrington’s Counterclaims are barred by Counterclaim Defendants’ fair use

of the subject photographs.

       WHEREFORE the Plaintiffs and Counterclaim Defendants ask this Court to enter a

judgement in their favor, granting the relief requested in their Complaint and denying Mr.

Harrington’s Counterclaims for copyright infringement, and awarding Counterclaim Defendants

their costs and attorneys fees incurred in defending those Counterclaims.




                                             Respectfully submitted,
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